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                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES – GENERAL

  Case
                2:20-cv-11357-VAP-PVCx                     Date March 2, 2021
  No.
  Title Paola Scherer v. Socorros Restaurant Inc.



  Present: The Honorable VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE

            CHRISTINE CHUNG                                     Not Reported
              Deputy Clerk                                      Court Reporter

   Attorney(s) Present for Plaintiff(s):            Attorney(s) Present for Defendant(s):
                None Present                                    None Present

  Proceedings: MINUTE ORDER TO SHOW CAUSE (IN CHAMBERS)


        The Complaint filed in this action asserts a claim for injunctive relief arising
 out of an alleged violation of the Americans with Disabilities Act (“ADA”), 42
 U.S.C. §§ 12010–12213, and a claim for damages pursuant to California’s Unruh
 Civil Rights Act (“Unruh Act”), Cal. Civ. Code §§ 51–53. It appears that the Court
 possesses only supplemental jurisdiction over the Unruh Act claim, and any other
 state law claim that Plaintiff may have alleged, pursuant to the Court’s
 supplemental jurisdiction. See 28 U.S.C. § 1367(a).

          The supplemental jurisdiction statute “reflects the understanding that,
 when deciding whether to exercise supplemental jurisdiction, ‘a federal court
 should consider and weigh in each case, and at every stage of the litigation, the
 values of judicial economy, convenience, fairness, and comity.’” City of Chicago
 v. Int’l Coll. of Surgeons, 522 U.S. 156, 173 (1997) (emphasis added) (quoting
 Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988)). The Court therefore
 orders Plaintiff to show cause in writing why the Court should exercise
 supplemental jurisdiction over the Unruh Act claim and any other state law claim
 asserted in the Complaint. See 28 U.S.C. § 1367(c).



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       In responding to this Order to Show Cause, Plaintiff shall identify the
 amount of statutory damages Plaintiff seeks to recover. Plaintiff and Plaintiff’s
 counsel shall also support their responses to the Order to Show Cause with
 declarations, signed under penalty of perjury, providing all facts necessary for the
 Court to determine if they satisfy the definition of a “high-frequency litigant” as
 provided by California Civil Procedure Code sections 425.55(b)(1) & (2).
 Plaintiff shall file a Response to this Order to Show Cause by no later than
 March 19, 2021. Failure to timely or adequately respond to this Order to Show
 Cause may, without further warning, result in the dismissal of the entire action
 without prejudice or the Court declining to exercise supplemental jurisdiction over
 the Unruh Act and other state law claims, if any, and the dismissal of any such
 claims pursuant to 28 U.S.C. § 1367(c).



       IT IS SO ORDERED.




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